Case 1:05-cv-01197-.]DT-STA Document 5 Filed 08/22/05 Page 1 of 2 Page|D 5

United States District Court,i 4:’/'33
WESTERN DISTRICT oF TENNESSEE /éé"/"; ‘“` "",};3

Eastern Division ”Uii LQu/
wit p"

TYRONE LYLES JUDGMENT |N A ClV|L CASE

V.

GOVERNOR PHIL BREDESEN, ct al. CASE NUN|BER: 05-1 197~T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in

the above-styled matter on 08/19/05, the plaintist motion for voluntary dismissal is
GRANTED. This case is hereby D|SMlSSED Without prejudicel

APPROVED:

      

JAM D. TODD
ED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

CLERK
Q/QQ/@§ BY; C%M
DATH ' DEPUTY CLERK

This document entered on the docket sheet in compliance

with Ruie 53 and/or 79(3) FRCP on 9 l <QH 10 S .

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01197 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

Tyrone L. Lyles
NWCX

289269

960 State Route 212
Tiptonville7 TN 38079

Honorable J ames Todd
US DISTRICT COURT

